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FILLMORE HERITAGE CENTER REQUEST FOR PROPOSALS

                            REVIEW PANEL PARTICIPANTS

A representative team of community members and City staff will meet and formally review
proposals for the Fillmore Heritage Center. The committee includes 5 community
representatives and 4 City representatives. Members have been selected to represent diverse
stakeholders of the Western Addition community, including but not limited to Fillmore corridor
merchants and long-time Western Addition residents. Individuals participating in the RFP
Review Panel will not be allowed to submit proposals for the Fillmore Heritage Center or partner
with proposal teams.


Community Panelists:

Reverend Amos Brown, Chair
LaTonia Grice
Darryl Dieter
Rick Swig
Audrey Joseph

Representatives from the following City departments:

Mayor’s Office of Housing and Community Development
Real Estate Department
Office of Community Infrastructure and Investment
Office of the Controller




HIGHLY CONFIDENTIAL- ATTORNEY'S EYES ONLY                             CCSF-SHIFERAW_000441
